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Case1:18-cv-03572-LDH-LB
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                                              08/30/22 Page
                                                       Page11of
                                                              of22PageID
                                                                  PageID#:
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Case1:18-cv-03572-LDH-LB
     1:18-cv-03572-LDH-LB Document
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                                        Filed01/26/23
                                              08/30/22 Page
                                                       Page22of
                                                              of22PageID
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